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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO. : 2:16cv14413


        TAVARES DOCHER, by and through
        JANICE DOCHER-NEELEY, his mother
        and legal guardian,

                     Plaintiffs,

        vs.

        CHRISTOPHER NEWMAN, individually,
        CLAYLAN MANGRUM, individually,
        CALVIN ROBINSON, individually, WADE
        COURTEMANCHE, individually, KEN J.
        MASCARA, as SHERIFF of ST. LUCIE
        COUNTY, Florida, JOSE ROSARIO,
        individually, and the ST. LUCIE COUNTY
        FIRE DISTRICT, an independent special
        district,

                     Defendants.




                       DEPOSITION OF MERINE KANHAI

        DATE:                    July 31st, 2017

        TIME:                    11:23 a.m.

        PLACE:                   201 SW Port St. Lucie Blvd, Suite 108
                                 Port St. Lucie, Florida 34984

        TAKEN BY:                GREGORY J. JOLLY, ESQ.

        REPORTER:                VANESSA G. ARCHER, FPR, Notary
                                 Public of the State of Florida at Large




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                                                                                  Page 2
    1   APPEARANCES:

    2
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  12    FOR DEFENDANTS
        NEWMAN, MANGRUM,
  13    ROBINSON, ,
        COURTEMANCHE and
  14    SHERIFF:                PURDY,   JOLLY,   GIUFFREDA & BARRANCO,              P.A.
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                                                                                Page 3
    1                             I-N-D-E-X

    2   July 31, 2017

    3   MERINE KANHAI

    4                              DIRECT      CROSS     REDIRECT             RECROSS

    5   By Mr. Jolly                 4                      28

    6   By Mr. Hecht                            20

    7   By Mr. Newman                           27

    8                              EXHIBITS

    9                                                                     Marked

   10   No Exhibits

   11

   12

   13

   14

   15

   16

   17   Letter to Merine Kanhai

   18   Errata Sheets     (to be forwarded upon completion)

   19

   20

   21

   22

   23

  24

   25


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                                                                                   Page 4
    1    AND THEREUPON,

    2                MERINE KANHAI,

    3    called as a witness on behalf of Defendants, herein, after

    4    having been first duly sworn, was examined and testified as

    5    follows:

    6                THE WITNESS:        I   do.

    7                          DIRECT EXAMINATION

    8    BY MR. JOLLY:

    9          Q     Would you state your name for the record.

   10          A     My name is Merine Kanhai.

   11          Q     Can you spell that for us.

   12          A     M-e-r-i-n-e, K-a-n-h-a-i.

   13          Q     Ms. Kanhai?

   14          A     Kanhai,    yes.

   15          Q     I introduced myself to you off the record.

   16    On the record my name's Greg Jolly and I represent

   17    the Sheriff in a lawsuit filed by Tavares Docher.

   18                        Have you ever given a deposition

   19    before?

   20          A     No.

  21           Q     Okay.     I'm going to go through some of the

  22     ground rules for you.

  23           A     Is this recorded?

  24           Q     It's transcribed,         and that'll be part of

  25    the instruction that I give you.


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    1                        So everything we say is going to be

    2    taken down by the reporter here.           And so because of

    3    that, I'm going to ask that all your answers be

    4    verbal.       You're doing it now and it's natural to

    5    shake your head yes or shake your head no.                  I may

    6    ask you to just say yes or no verbally just so we

    7    have a good record.

    8           A       Can I video record this, or not?

    9           Q       Can you video record it?

  10            A       Can I video record it?

  11            Q      Why do you want to video record it?

  12            A       I mean,   I don't know.    It's just -- I

  13    mean,       it doesn't matter really.

  14            Q       I've never had a witness ask me that

  15    before,       I don't know.

  16                   MR. HECHT:      You can get a copy of this so

  17            you can have it.

  18                   THE WITNESS:       That's fine.

  19                   MR. HECHT:      Everything we say is being

  20            written down, so you can keep that as a record.

  21                   THE WITNESS:      All right, cool.

  22    BY MR. JOLLY:

  23            Q      Also, because everything's being taken

  24    down,       I would just ask that you allow me to finish

  25    my question first before you answer, and I'll try to


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    1    extend the same courtesy, that way we're not talking

    2    over each other.

    3          A      Okay.

    4          Q      And you just swore to tell the truth.                      I

    5    know you mentioned earlier you thought you were

    6    going to be in a courthouse.             You're not, but the

    7    oath is the same,         so in other words you swore an

    8    oath to tell the truth.            Do you understand that?

    9          A      Yes,      sir.

   10          Q      We're here to talk about an event that

   11    occurred on May 11, 2014 at the CVS.               Do you

   12    remember something from that day?

   13          A      I   do.

   14          Q      Did you go to the CVS that day?

   15          A      I did.

   16          Q      Tell me what you remember from that day?

   17          A      I remember pulling up in the parking lot.

   18    There was one sheriff car there parked,              facing east,

   19    the back car door was open.             And then there were

   20    some officers holding down this black guy on the

   21    ground.

  22           Q     And I'm going to stop you there and kind

  23     of break it down.

  24                            Do you remember how many -- I'll call

  25     them deputies,         it doesn't really matter.


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    1                           Do you remember how many deputies

    2    there were holding this gentleman on the ground?

    3            A       There were three deputies there.           I don't

    4    know how many of them were actually holding him

    5    down.

    6            Q       Do you remember what they looked like?

   7             A       There was one black deputy and I believe

    8    two white deputies.

    9            Q       And where were you parked,       if you

  10     remember?

  11             A      When I came in and swerved from hitting

  12    the door,        I came around.       I was parked facing

  13     like,       coming to the CVS,      you make that slight right

  14    turn,        I was parked facing south of -- like,          it's

  15     Prima Vista,         I was facing south of Prima Vista.

  16             Q       How far was your car from where the

  17    deputies and the gentleman were?

  18             A       I want to say at least maybe 30 feet

  19    approximately.

  20             Q      And after you parked, did you walk

  21    immediately into the store, or did you -- tell me

  22    what you did after you parked?

  23             A       I stood to watch.

  24             Q      And were you alone?

  25             A      No.


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                                                                                Page 8
    1          Q     Who was with you?

    2          A     I was with my daughter, who was 16 or 17

    3    at the time.

    4          Q     We'll come back to that.

    5                       So you see deputies with the

    6    gentleman on the ground.          Do you remember if the

    7    gentleman was handcuffed at that time?

    8          A     No.

    9          Q     Do you not remember, or he was not

  10     handcuffed?

  11           A     He was not handcuffed.

  12           Q     And you said he was already on the ground?

  13           A     Yes.

  14           Q     Did you witness any of the events that

  15     preceded this gentleman being on the ground?

  16           A     Some of it, yes.

  17           Q     What did you observe?

  18           A     I observed that he was laying on his

  19    belly, and there was

  20           Q     I'm going to stop you, and I apologize for

  21     interrupting you, but when you got there, was he

  22    already on the ground?

  23           A     He was already on the ground, yes.

  24           Q     So you didn't see how he got on the

  25    ground?


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    1            A       No.

    2            Q       Go on.    I'm sorry I interrupted you.

    3            A       That's okay.    So while he was still laying

    4    on the ground, there was two officers -- he was

    5    laying on his belly, there were two officers down by

    6    his leg area,         there was one officer by his face

    7    area.       He was laying in a position where his arms

    8    were,       like, under him.

    9            Q       I'm going to stop you.     Were both his arms

  10     under him?

  11             A      Well, one was like this, and there was

  12     another arm underneath him (indicating)

  13             Q       It's hard for the --

  14             A       He was laying like this     (indicating)

  15             Q       I'm going to try to break it down because

  16     it's hard for transcripts to say he was doing this,

  17     so I'll try to have you describe it.

  18             A      One arm was underneath his,      like, his

  19     right, under his right side, and the other hand was,

  20     like, under his belly, like this          (indicating).           And

  21     they were trying to get him,         I guess,   to arrest him,

  22     but the arms weren't free for them to do that.

  23     There was one officer who was by his head area.                     And

  24     what I believe to see, this officer was,             I don't

  25     know, elbow him on his face,         and the guy was


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   1    bleeding.

   2            Q      While he was on the ground with his arms

   3    in front of him, what was Mr. Docher doing at that

   4    time?       Was he pushing up or --

   5            A      Well, his legs were flying because they

   6    were trying to restrain him and his legs were

   7    flying, and they kept saying to him, stop resisting

   8    arrest.

   9            Q      What was he doing with his arms?

 10             A      His arms were just there.         So his arms

 11     weren't really where they would just take it and do

 12     this    (indicating), and handcuff him.           So when they

 13     finally got his arms free,          they handcuffed him.               And

 14     his hand was over his head, like, he was laying like

 15     this (indicating), they handcuffed with his hands

 16     up, and then his arm came up front.              So he wasn't

 17     handcuffed behind his back.

 18             Q      So you saw his arms extended in front of

 19     him

 20             A      But he was laying down.

 21             Q      -- and that's when they handcuffed him?

 22             A      Yes.

 23             Q     You mentioned some elbow strikes, and I

 24     need to ask you about that.            Do you remember which

 25     deputy was delivering the elbow strikes?


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  1             A   It was a Caucasian deputy.

  2             Q   And do you remember where the elbow

  3     strikes were being delivered on Mr. Docher?

   4            A   From what I can remember,        it was on the

  5     right side, like, the cheeks,         I believe, the right

   6    face.

  7             Q   And what was Mr. Docher doing when one of

  8     the deputies was elbow striking him?

   9            A   He was still moving, and he did say, don't

 10     let them kill me.

 11             Q   Was this while the elbow strikes were

 12    being delivered?

 13             A   I'm not sure if it's while, but some point

 14     in time as the incident was happening.

 15             Q   How far were you from where the deputies

 16    were when this was happening,          the elbow strikes?

 17             A   I walked up a little bit closer.              I want

 18    to say from my van, maybe about 20 to 25 feet.

 19             Q   Did you observe Mr. Docher attempt to bite

 20    the deputies at any time?

 21             A   No,   sir.

 22             Q   I know you said the deputies were saying,

 23    stop resisting.       Did you hear them say anything else

 24    to Mr. Docher?

 25             A   No,   sir.


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   l           Q     So what happens after you saw one of the

   2    deputies deliver -- do you know how many elbow

   3    strikes by the way,       that you saw?

   4           A     Maybe two.

   5           Q    All by the same deputy?

   6           A     Yes.

   7           Q     Did you observe any of the other deputies

   8    using force against Mr. Docher?

   9                MR. HECHT:      Form.

  10                 THE WITNESS:     Not that I can remember.              I

  11           know they were holding him down by his leg area

  12           trying to get him stable or something.              I don't

  13           recall.

  14    BY MR. JOLLY:

  15           Q    What did you observe next?

  16           A    Well,   the gentleman, the black guy that

 17     was laying on the ground, when he was saying, don't

 18     let them kill me,       I don't know what transpired, but

 19     they said to him the ambulance is on the way.

 20            Q    Who said that?

 21            A    One of the deputies.

 22            Q    Do you remember which deputy?

 23            A     I don't,   I honestly don't remember which

 24     one.   And then we got shooed away, to get further

 25     away, to back away, and I was still standing outside


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   1    until the ambulance got there.            And he got up.

   2            Q     Who got up?

   3            A     Mr. Docher -- his name,        you guys said,

   4    yes?

   5            Q     Yes, ma'am.

   6            A     Got up,    and then got him on the ambulance.

   7                          I don't know what happened after

   8    that.       I know we were questioned by -- I don't

   9    remember the gentleman's name.

 10             Q     Was he representative of the sheriff?

 11             A      I have his card.

 12             Q     Do you have it on you?         You can look.

 13             A      I did take a copy of it, picture of it,

 14     way back when.

 15             Q     While you're looking,       I'm going to ask you

 16    more questions if that's okay.

 17                           You said Mr. Docher got up.            What do

 18     you mean by that?

 19             A     Well,    to get him onto the ambulance, as

 20     far what I saw, but he was very bloody.

 21             Q     How did he get up though?

 22             A     Well, with help from the deputies, as far

 23     as what I can remember,         to get him onto the gurney

 24     and for them to take care of him.

 25                           His name is David Blanchard, he's a


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   1    Criminal Investigator Division.

   2          Q      Is that with the sheriff's office?

   3          A      Yes.

   4          Q      And I think you said you observed the

   5    ambulance arrive, correct?

   6          A      Yes.

   7          Q      Where were you when the ambulance arrived?

   8          A      I was at the front of the store by the

   9    entrance.

  10          Q      Were you inside or outside?

  11          A      I was outside.

  12          Q      Were you alone?

  13          A      No.

  14          Q      Who was with you?

  15          A      My daughter, Ariana.

  16          Q      Did you meet a gentleman there named Sean

  17    Mahoney?

  18          A      Yes.

  19          Q      Did you have a conversation with Sean

  20    Mahoney on that day?

  21          A      Yes.

  22          Q      What did you talk about with Mr. Mahoney?

  23                 MR. HECHT:     Form.

  24                 THE WITNESS:     We talked about -- he was

  25          there with his girl.          They were saying that why


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   1          would the officer beating him up like that,

   2          that looks like police brutality to me.

   3    BY MR. JOLLY:

   4          Q     That's what Mr. Mahoney was saying?

   5          A     Yeah.     And I said,         I have never seen

   6    anything like that myself in my entire life.

   7          Q      I think you said you didn't observe what

   8    took place before the deputies ended up on the

   9    ground with Mr. Docher?

  10          A     No, no,      I did not.

  11          Q     Have you ever worked in law enforcement?

  12          A     No,   sir.

  13          Q      Do you have any friends in law

  14    enforcement?

 15           A      Just acquaintance.

 16           Q      Do you have any acquaintances with the St.

 17     Lucie County Sheriff?

 18           A     Not -- I would say yes.

 19           Q     Can you tell me that person's name?

 20           A     Deputy Goyette and Deputy Green.

 21           Q     Have you talked with either Deputy Goyette

 22     or Deputy Green about this incident that we're here

 23     today?

 24           A     No,   sir.

 25           Q     Have you ever seen a cell phone video that


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   1    captured the subject incident?

   2            A   Yes, sir.

   3            Q   When did you see that?

   4            A   A couple of days after the incident.

   5            Q   How did you see it?

   6            A   The video was shared.        The same person

   7    that you mentioned, I don't remember his name.

   8    Sean?

   9            Q   Yes.

 10             A   Shared it on his Facebook, which we are

 11     not friends under Facebook, but I was able to

 12     because he said he was going to post it and he was

 13     going to make that go viral.

 14             Q   When did he say that?

 15             A   At the time when I met him at the CVS

 16     store, inside the store.         He was there with his

 17     girlfriend and a kid, I'm not a hundred percent

 18     sure.

 19             Q   Have you had any conversations with

 20    Mr. Mahoney since May 11, 2014?

 21             A   No, sir.

 22             Q   Do you know if your daughter has?

 23             A   No, sir.

 24             Q   When was the last time you saw the video,

 25     the cell-phone video that you were talking about


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   1    earlier?

   2           A     That same year.           I mean, earlier that year

   3    of the incident.          Other than that, no.

   4           Q     So what happened after Mr. Docher was put

   5    in the ambulance?

   6           A     This investigator just they said we

   7    couldn't leave, so we had to give a statement as to

   8    what we saw at the time.

   9           Q     Did any of the deputies tell you what to

  10    say?

  11           A     No,   sir.

  12           Q     Did you tell the truth?

  13           A     Yes, sir.

  14           Q     What did you do to prepare for your

  15    deposition today?

  16           A     Try to calm my anxiety.

  17           Q    What were you anxious about?

  18           A     I've never been in this situation before,

  19    to have to do anything like this.                   Because I do have

  20    a history of anxiety, so of course that brings it

 21     on.    I didn't know what to expect.

 22            Q     Is it as bad as you thought it was going

 23     to be?

 24            A    Well, it's always nerve wracking when you

 25     have to relive something for the first time, that


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   1    you,   you know, ever saw something like that before.

   2           Q    Did you ever give any statements to anyone

   3    besides the statement you provided to the St. Lucie

   4    County Sheriff's detective,        Deputy Blanchard?

   5           A    No, sir.

   6           Q    Have you had any conversations with any

   7    representatives of the plaintiff, Mr. Docher?

   8           A    No, sir.

   9           Q    Have you had any conversations with any of

 10     the representatives, besides Deputy Blanchard,                   for

 11     the sheriff?

 12            A    No, sir.

 13            Q     Do you know Deputy Newman, does that ring

 14     a bell at all?

 15            A    No,   sir.

 16            Q    How about Deputy Mangrum?

 17            A    No, sir.

 18            Q    How about Deputy Robinson?

 19            A    No,   sir.

 20            Q     I think I'm just about done.

 21                        From the time you got into the

 22     parking lot to the time Mr. Docher was put into the

 23     ambulance, can you tell me approximately how much

 24     time elapsed?

 25            A    By the time I got there, probably about


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   1    ten minutes on the ground,          I would say a good 20

   2    minutes from the time I got there.

   3          Q      And what was happening when Mr. Docher was

   4    on the ground?

   5          A      Like I said earlier, there were two

   6    deputies by his feet,          and he was laying on his

   7    belly, and there was a deputy by his head, with

   8    Mr. Docher's face,          the left side laying on the

   9    ground and right side visible.           And all I heard was

  10    the deputy repeatedly saying, stop resisting arrest.

  11    And then the deputy elbowed him a couple of times on

  12    the right side of his face,          and Mr. Docher was

  13    bleeding.

  14          Q      When the elbow strikes were being

  15    delivered, was Mr. Docher handcuffed?

  16          A      No,    sir.

  17          Q      So the handcuffing occurred after the

  18    elbow strikes?

  19          A      Yes,    sir.

  20          Q      That's all the questions I have.              The

  21    other attorneys may have some questions for you, but

  22    thank you.

  23          A      You're welcome.

  24

  25


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   1                          CROSS-EXAMINATION

   2    BY MR. HECHT:

   3           Q     As I stated, my name's Adam Hecht,             I

   4    represent Tavares Docher.

   5                       On May 11, 2014, and I know it was

   6    some years ago, but you were with your daughter

   7    going to the CVS that evening, correct?

   8           A     Yes, sir.

   9           Q     And why is it that you were going to the

  10    CVS?

  11           A     It was Mother's Day,      I believe, and I went

  12    to get a hair color.

  13           Q     And when you arrived on scene, you told us

  14    that you saw a few officers and my client, Tavares

  15    Docher, who was laying on the ground, correct?

  16           A     Correct.

  17           Q     And you parked your car, correct?

  18           A     Correct, yes, sir.

  19           Q     And where is it that you walked to in

  20    order to watch what was occurring at that time?

  21           A     So I came up the CVS entrance, and the

  22    deputy's car door was open, the passenger door,                  I

  23    swerved around.      There was enough room where they

  24    were laying where he was.          Came around.     And where

  25    did I park?     Was that the


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   1            Q       I want to know where it was that you were

   2    standing that you were watching this?

   3            A       I was standing -- I parked facing Prima

   4    Vista,       that's south, and I came behind my van.

   5    So -- so I was behind my van looking on to the

   6    parking lot where the incident was taking place.

   7            Q       How much feet from Tavares Docher would

   8    you say that you were?

   9            A       I want to say about 30 feet maybe.

  10            Q       And was there already a crowd of people

  11    that were watching this?

  12            A       No.   Because it was around after

  13    6:00 p.m.,       I believe, and there was a only a few

  14    people in the store.              It was myself, my daughter,

  15    from what I remember.              And the gentleman that --

  16    Sean Mahoney,         there were two other people with him,

  17    a kid and somebody else.                That was it.

  18            Q       And when you saw Tavares Docher lying on

  19    his belly for the first time, did you see a pool of

  20    blood underneath his face?

  21            A       I don't know that it was underneath his

  22    face,       but it was definitely coming from him, yeah,                          I

  23    don't know from where.

  24            Q       And you said that at that time, when you

  25    first saw him on his belly, he was not wearing


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   1    handcuffs,       correct?

   2          A      Correct.

   3          Q      And would you say that he was fighting

   4    with the officers while he was on his belly?

   5                 MR. JOLLY:         Objection,        form.

   6                 THE WITNESS:          Can you say that again

   7          please?

   8    BY MR. HECHT:

   9          Q      Sure.     When you saw Tavares Docher

  10    initially, when you first came to see him on the

  11    ground and he was laying on his belly, was he

  12    fighting with the officers?

  13                 MR. JOLLY:         Form.

  14                 THE 1/HTNESS:         I know he was moving, but

  15          they were trying to restrain him,                     like,     two

  16          officers were by his feet,                and then that

  17          officer was by his head.                And like I said, he

  18          had one hand like this,              under his chin

  19           (indicating), and then the other hand was

  20          underneath him.           So I don't really know what

  21          they were trying to do, whether they were

  22          trying to get his arms out, but they were

 23           saying,      stop resisting arrest.

 24     BY MR. HECHT:

 25           .Q     I    know this is the first time you've ever


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   1    given a deposition,        so when you say things such as,

   2    his arm was like this and it was like this, but

   3    that's okay,        it just doesn't transcribe well when we

   4    go back.

   5            A     His hand was under his chin,          like, his

   6    neck.

   7            Q     I understand.         What I want to ask you is,

   8    would you describe Tavares Docher's arm positions as

   9    being in a very uncomfortable and unnatural position

  10    when you saw him laying on his belly?

  11                  MR. JOLLY:      Objection,    form.

  12                  THE WITNESS:      I wouldn't say unnatural,               I

  13            would say where somebody's laying on their

  14            belly how their arm would be and where it would

  15            be.   I wouldn't say that it was placed there by

  16            someone else, it's just how he himself was

  17            laying.

  18    BY MR. HECHT:

  19            Q     Did it appear to you that he was having

  20    difficulty breathing when you saw him on the ground

  21    laying on his belly?

  22            A     No,    I wouldn't say that.

  23            Q     You said the officers were saying, stop

  24    resisting, stop resisting?

  25            A     Yes.


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                                                                       Page 24
   1          Q     Was Tavares Docher resisting the officers?

   2                 MR. JOLLY:     Objection, form.

   3                 THE WITNESS:     Okay.    I don't know that I'm

   4          going to answer it the way that I should, but

   5

   6    BY MR. HECHT:

   7          Q      I just want you to answer as best as you

   8    can and as honestly as you can.

   9          A      I don't know much about law enforcement as

  10    to what their rules and regulations, what a

  11    resisting arrest is.        I've never been arrested in my

  12    life, thank God.       So I had to ask my husband that

  13    question last night, what is resisting arrest?                    Is

  14    it you 1 re not giving up your hand freely?              Is it

  15    your hand is in a position where you're not allowing

  16    the officer to arrest you?          Is it because they have

  17    your hands and you're just moving your legs and

  18    feet, does that mean that you're still resisting?

  19    So I honestly don't know how to answer that

  20    question.

  21          Q      Okay, that's fair enough.

  22          A      I'm sorry.

  23          Q      That's fair enough.

  24                       You said that you saw one of the

  25    officers elbow Tavares Docher twice on his face,


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   1    correct?

   2          A      Correct.

   3          Q      Did that seem unnecessary to you?

   4                 MR. JOLLY:     Objection, form.

   5                 THE WITNESS:     At the time what I observed,

   6          I would say yes.

   7    BY MR. HECHT:

   8          Q     And there were three officers trying to

   9    control him, correct?

  10                 MR. JOLLY:     Objection, form.

  11                 THE WITNESS:     There were three officers

  12          there, yes.

  13    BY MR. HECHT:

  14          Q      When one of the officers was striking

  15    Tavares Docher in his face, did that seem excessive

  16    to you?

  17                 MR. JOLLY:     Objection, form.

  18                 THE WITNESS:     At the time, yes.

  19    BY MR. HECHT:

  20          Q     After this officer elbowed Tavares Docher

  21    in the face, did you see him bleed from that?

  22          A      I saw him bleeding.       For sure, do I know

  23    that that's why he was bleeding?           I don't know that

  24    he fell on the ground, what happened, why the police

  25    car door was open,      I don't know anything at that


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   1    point.    So my observation and my assumption would

   2    say that it's possible.

   3          Q     You stated that you had never seen

   4    anything like that in your entire life, correct?

   5          A     Correct.

   6          Q     Could you please elaborate for me by what

   7    you meant by that?

   8          A     With Tavares laying on the ground and the

   9    officer elbowed him, he was bleeding.            And like I

  10    said, I don't know that where did the bleeding come?

  11    Could it be from the striking, could it be he fell,

  12    I honestly don't know that for sure.            So with the

  13    elbow doing like this (indicating), with the elbow

  14    on his face, and the gentleman Tavares is saying,

  15    don't let them kill me,       I presume he's talking about

  16    the officer because the officer is striking him.

  17                       And then the two officers by his leg

  18    were trying to -- at that point, didn't have the

 19     handcuffs, were restraining him from the foot area.

 20     And, you know, he's bleeding, and of course you're

 21     seeing from a person, it can be a little bit

 22     traumatizing.      I've never experienced anything like

 23     that in my entire life, so it was very disturbing to

 24     me to see, you know, what was taking place.

 25           Q     Did it appear to you that based upon what


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   1    you saw, that Tavares Docher, my client, was in fear

   2    of his life?

   3                 MR. JOLLY:      Objection,    form.

   4                 THE WITNESS:       I mean,   I didn't see his

   5          like whole -- you know, by him saying, don't

   6          let them kill me, and if he was referring, to

   7          which I think he was referring, to the

   8          officers, quite possible.

   9    BY MR. HECHT:

  10          Q      Okay.     Thank you, ma'am,       I don't have any

  11    other questions.

  12                           CROSS-EXAMINATION

  13    BY MR. NEWMAN:

  14          Q      Just very briefly, ma'am.          Again, my name

  15    is Ben Newman,       I represent the Fire District.

  16                         You're here today,     looks like you're

  17    wearing medical scrubs.

  18          A     Yes,     sir.

 19           Q     Where do you work?

 20           A      I work for a pediatrics office.

 21           Q     And what do you do?

 22           A      I am a head nurse and clinical staff.

 23           Q     What is the highest level of education

 24     that you have?

 25           A     Some college, and my certification for


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   1    mBdical assisting.

   2            Q    So you have the certificate as a medical

   3    assistant?

   4            A    Yes,    sir.

   5            Q    But you're not a licensed practical nurse,

   6    correct?

   7            A    No, but I know a lot.

   8            Q    But with the State of Florida you have a

   9    certificate as a medical assistant?

  10            A    Yes,    sir.

  11            Q    Thank you, those are all the questions I

  12    have.

  13                          REDIRECT EXAMINATION

  14    BY MR. JOLLY:

  15            Q    You testified earlier that you asked your

  16    husband about what constitutes resisting arrest.

  17            A    Yes.

  18            Q    What does your husband do?

  19            A    My husband works for the City of Port St.

  20    Lucie.

  21            Q    In what capacity?

  22            A    He is a supervisor, the utility

  23    department.

  24            Q    Is your husband in law enforcement?

  25            A    No,    sir.


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                                                                       Page 29
   1          Q      Has he ever been in law enforcement?

   2          A      No,   sir.

   3          Q      Did he tell you what he thought resisting

   4    arrest is?

   5                 MR. HECHT:     Form.

   6                 THE WITNESS:     To the best of his

   7          knowledge.

   8    BY MR. JOLLY:

   9          Q      What did he say?

 10           A      Well,    I said, is it -- is it -- how do you

 11     think it works,       is it the person not giving up the

 12     hands freely?        And he says yes,   like that.       Is it

 13     trying to get the person to arrest them and they're

 14     just resisting,       like not letting the officers do it

 15     freely,    like that.

 16           Q      And I don't want to keep going over the

 17     same ground, but you were unaware of what transpired

 18     prior to Mr. Docher ending up on the ground,

 19     correct?

 20           A      Correct.

 21           Q      You don't know what happened inside the

 22     CVS store?

 23           A      I don't know what happened.

 24           Q      Did you ever ask anyone what happened,

 25    what led to this?


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                                                                       Page 30
   1          A      I did,    I asked a clerk.     Because I go

   2    there a lot and she knows me and I know her.

   3          Q      Who is that person, do you know her name?

   4          A      Samantha.

   5          Q      Gillesky?

   6          A      I don't know her last name.

   7          Q      Okay.     What did Samantha tell you about

   8    what happened?

   9                 MR. HECHT:      Form.

  10                 THE WITNESS:      She told me the gentleman

  11          came in and asked to use the phone and said his

  12          aunt was being kidnapped, or something, and he

  13          must be on -- it looks like he was under the

  14          influence of alcohol of some sort, she wasn't

  15          sure, but he was acting really weird.                And he

  16          asked for their phone to call 911.

  17    BY MR. JOLLY:

  18          Q      Did Samantha tell you anything about the

  19    things Mr. Docher was saying while he was inside the

  20    store?

  21          A      Well,    that's what she told me he was

  22    saying, yes, he wanted to use the phone to call the

  23    police.

  24          Q      This happened approximately 6:30 at night,

  25    correct?


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                                                                       Page 31
   1            A    Yes, around that time.

   2            Q     Do you remember if it was dark at that

   3    time?

   4            A     It was dusk,    like, dusk,    it wasn't,        like,

   5    really,     really -- going sundown.

   6            Q    All the action that happened, they

   7    occurred in the parking lot, correct?

   8            A    Yes,   sir.

   9            Q    Which is public ground, correct?

  10            A    Yes,   sir.

  11            Q     It didn't appear that any of the deputies

  12    were trying to conceal what was happening, correct?

  13                 MR. HECHT:      Form.

  14                 THE WITNESS:      Correct.

  15    BY MR. JOLLY:

  16            Q    And I know we've talked about this quite a

  17    bit now, but can you say which hand was underneath

  18    his neck and which was underneath his stomach, if

  19    you remember?

  20            A    His right arm           wait.   I gotta just

  21    visualize in my head as to when I got there.

  22                        The left arm was like this

  23    (indicating), underneath his neck, the right arm

  24    underneath his belly area, and he was laying with

 25     his right side of his face visible.


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   1          Q      Okay,     I don't have anymore questions at

   2    this time.     There might be some followup from the

   3    other attorneys.         Thank you.

   4                 MR. HECHT:        No more questions.

   5                 MR. NEWMAN:         No questions.

   6                 MR. JOLLY:        Okay, ma' am,         at this time you

   7          have the right to,           if this transcript is

   8          ordered, which it will be,                you can read the

   9          deposition to confirm its accuracy,                      or you can

  10          waive that right.            But you have to make that

  11          election now and it's your decision to make.

  12                 THE WITNESS:          Accuracy in the sense what I

  13          have said?

  14                 MR. JOLLY:         Yes, rna' am.

  15                 THE WITNESS:          Yes,    I ' l l take a copy.

  16                 MR.   JOLLY:       You want to read?

  17                 THE WITNESS:          Yes,    sir.

  18                 MR. JOLLY:        Okay,      that's it.         Thank you.

  19              (Deposition concluded at 12:00 p.m.)

  20

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   1    STATE OF FLORIDA
                                                              SS
   2    COUNTY OF ST. LUCIE

   3

   4                                      CERTIFICATE OF OATH

   5                   I, VANESSA G. ARCHER, Registered Professional

   6    Reporter, a Notary Public of the State of Florida at Large,

   7    authorized to administer oaths on this 31st day of July,

   8    2017, at 11:23 a.m., MERINE KANHAI personally appeared

   9    before me and took an oath for the purpose of giving

  10    testimony in the matter of:                                    TAVARES DOCHER v. CHRISTOPHER

  11    NEWMAN,   ET AL.

  12

  13
                                                                        VANESSA G. ARCHER, FPR
  14              #~~;.~~0(0            VANESSA G. ARCHER               My Corrunission Expires:
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                                      EXPIRES: October 5, 2019          October 5, 2019
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  19    TYPE OF IDENTIFICATION PRODUCED:

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   1    STATE OF FLORIDA
                                 SS
   2    COUNTY OF MARTIN

   3

   4                    CERTIFICATE OF REPORTER

   5                I, VANESSA G. ARCHER, Registered Professional

   6    Reporter, a Machine Shorthand Reporter and Notary Public of

   7    the State of Florida at Large, certify that the foregoing

   8    deposition of MERINE KANHAI was stenographically reported by

   9   me and is a true and accurate transcription of said

  10    deposition of MERINE KANHAI; that a review of the transcript

  11   was requested.

  12

  13                I certify further I am neither attorney nor

  14    counsel for,   nor related to, nor employed by any of the

  15   parties to the action in which the deposition is taken and,

  16    further,   that I am not a relative or an employee of any

  17   attorney or counsel employed in this case, nor am I

  18    financially interested in the outcome of this action.

 19                 DATED this 3rd day of August, 2017.

 20

 21
                                                VANESSA G. ARCHER, FPR
 22

 23

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   1                           ERRATA SHEET

   2    In Re:   Tavares Docher v. Christopher Newman, Et Al
                         Case No: 2:16cv14413
   3                           7/31/17

   4     DO NOT WRITE ON TRANSCRIPT - - ENTER CHANGES HERE:

   5    Page:                 Line:
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   7    Reason for Change:

   8    Page:                 Line:
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  13    Reason for Change:

  14    Page:                 Line:
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        Should read:
  16    Reason for Change:

  17    Page:                 Line:
        Now reads:
  18
        Should read:
  19    Reason for Change:

  20
                 Under penalties of perjury, I declare that I have
  21   read my foregoing transcript and, together with any changes
       made above, the facts stated herein are true.
  22

  23

  24    DATE                          MERINE KANHAI

  25


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                                                                       Page 36
   1                           ERRATA SHEET

   2    In Re:   Tavares Docher v. Christopher Newman, Et Al
                         Case No: 2:16cv14413
   3                           7/31/17

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  19    Reason for Change:

  20
                 Under penalties of perjury, I declare that I have
  21   read my foregoing transcript and, together with any changes
       made above, the facts stated herein are true.
  22

  23

  24    DATE                          MERINE KANHAI

  25


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   1

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   6

   7    Merine Kanhai
        857 SE Evergreen Ter
   8    Port St. Lucie, Florida 34983

   9
        August 4th, 2017
  10
        In re:   Tavares Docher v. Christopher Newman, Et al
  11

  12    Dear Ms. Kanhai:

  13    This letter is to inform you that your deposition taken on
        July 31st, 2017 in the above-captioned matter has been
  14    completed and is ready for you to read and sign.

  15    The transcript is being held in my office.  Please make
        arrangements with my office to read and sign your
  16    deposition.

  17    Thank you for your prompt attention to this matter.

  18

  19    Cordially yours,

  20

  21    Vanessa G. Archer, Court Reporter

  22

  23    CC:   Gregory Jolly, Esq.
              Benjamin Newman, Esq.
  24          Adam Hecht, Esq.

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